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                                                                   1   Jeffrey W. Dulberg (State Bar No. 181200)
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                                                                   6   [Proposed] Counsel to the Official Committee of
                                                                       Unsecured Creditors
                                                                   7

                                                                   8                                UNITED STATES BANKRUPTCY COURT

                                                                   9                                 CENTRAL DISTRICT OF CALIFORNIA

                                                                  10                                        LOS ANGELES DIVISION

                                                                  11   In re:                                            Case No. 2:21-bk-16674-ER
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   JINZHENG GROUP (USA) LLC,                         Chapter 11
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                     NOTICE OF MOTION AND MOTION FOR
                                           ATTORNEYS AT LAW




                                                                                    Debtor and Debtor in Possession.     (I) THE APPOINTMENT OF A CHAPTER 11
                                                                  14                                                     TRUSTEE, OR IN THE ALTERNATIVE,
                                                                                                                         (II) (A) TERMINATION OF PLAN AND
                                                                  15                                                     SOLICITATION EXCLUSIVITIES AND
                                                                                                                         (B) AUTHORIZING STANDING FOR THE
                                                                  16                                                     COMMITTEE OF CREDITORS HOLDING
                                                                                                                         UNSECURED CLAIMS TO PROSECUTE
                                                                  17                                                     ACTIONS AGAINST INSIDERS OF THE
                                                                                                                         DEBTOR; DECLARATIONS OF DAVID
                                                                  18                                                     PARK AND JEFFREY W. DULBERG IN
                                                                                                                         SUPPORT
                                                                  19
                                                                                                                         Date:        March 22, 2022
                                                                  20                                                     Time:        10:00 a.m.
                                                                                                                         Location:    U.S. Bankruptcy Court
                                                                  21
                                                                                                                                      Courtroom 1568
                                                                  22                                                                  255 E. Temple St.
                                                                                                                                      Los Angeles, CA 90012
                                                                  23                                                     Judge:       Hon. Ernest M. Robles

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P ACHULSKI S TANG Z IEHL & J ONES LLP




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                                                                   1   TO THE HONORABLE ERNEST M. ROBLES, UNITED STATES BANKRUPTCY JUDGE,
                                                                       THE DEBTOR, THE UNITED STATES TRUSTEE, PARTIES REQUESTING SPECIAL
                                                                   2   NOTICE, AND ALL CREDITORS:
                                                                   3            PLEASE TAKE NOTICE that the Committee of Creditors Holding Unsecured Claims (the
                                                                   4   “Committee”) appointed in chapter 11 case (the “Case”) of debtor and debtor in possession Jinzheng
                                                                   5   Group (USA) LLC (the “Debtor”), hereby moves (the “Motion”) the Court for the entry of an order
                                                                   6   (I) pursuant to sections 1104(a)(1) and (a)(2) of the United States Code, 11 U.S.C. § 101, et seq.
                                                                   7   (the “Bankruptcy Code”), Rules 2007.1(a) and 9014 of the Federal Rules of Bankruptcy Procedure
                                                                   8   (the “Bankruptcy Rules”), and Rule 9013-1 of the Local Bankruptcy Rules, seeking the immediate
                                                                   9   appointment of a chapter 11 trustee in the Case; or, in the alternative, (II)(A) pursuant to 11 U.S.C. §
                                                                  10   1121(d) and paragraph 4 of this Court’s Order Granting Motion of Debtor For Order Extending
                                                                  11   Debtor’s Exclusivity Period to File Chapter 11 Plan and Solicit Acceptances Thereto,1 terminating
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   the periods under 11 U.S.C. § 1121(c) in which the Debtor has the exclusive right to solicit and
                                        LOS ANGELES, CALIFORNIA




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                                           ATTORNEYS AT LAW




                                                                       obtain acceptances of a plan and during which time competing plans may not be filed as to the
                                                                  14   Committee, and authorizing the Committee to file and proceed with a plan and disclosure statement;
                                                                  15   and (B) pursuant to 11 U.S.C. §§ 105(a), 1103(c), 1109(b) of the Bankruptcy Code granting leave,
                                                                  16   standing and authority to prosecute causes of action against the Debtor’s equity owner Jianqing
                                                                  17   Yang and/or other insiders (the “Insiders”)2 on behalf of the Debtor’s bankruptcy estate (the
                                                                  18   “Estate”).
                                                                  19            As set forth in the annexed Memorandum of Points and Authorities (“P&A”), the Committee
                                                                  20   believes that ample cause exists for the appointment of a chapter 11 trustee, or, in the alternative,
                                                                  21   termination of the Debtor’s plan and solicitation exclusivities and granting of standing to the
                                                                  22   Committee to prosecute claims against Insiders.
                                                                  23            PLEASE TAKE FURTHER NOTICE that the Motion is based on the facts and legal
                                                                  24   analysis set forth in P&A, the annexed Declaration of Jeffrey W. Dulberg (the “Dulberg
                                                                  25
                                                                       1
                                                                         Entered January 18, 2022 [Docket No. 80] at ¶ 2 (extending filing exclusivity to April 21, 2022), 3 (extending
                                                                  26   solicitation exclusivity to May 20, 2022) and ¶ 4 (“This ruling is without prejudice to any party in interest filing a motion
                                                                       for early termination of exclusivity upon a showing that the Henry Mayo Newhall factors no longer support the
                                                                  27   extensions granted herein.”) (“Exclusivity Extension Order”).
                                                                       2
                                                                         Subject to investigation, potentially Shao Xing Max Yang and/or Betty Zheng (“BZ”) and any other relevant Insiders
                                                                  28   that are discovered.
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                                                                   1   Declaration”) and Declaration of David Park (the “Park Declaration”), the record in this Case and

                                                                   2   any other evidence before the Court prior to or at any hearing on the Motion, and all facts of which

                                                                   3   this Court may properly take judicial notice.

                                                                   4           PLEASE TAKE FURTHER NOTICE that, if you wish to oppose this Motion, you must

                                                                   5   file a written response with the Court and serve a copy of it upon the undersigned counsel no later

                                                                   6   than fourteen (14) days prior to the hearing on the Motion. The failure to properly file and serve an

                                                                   7   opposition may be deemed consent to the relief requested in the Motion or a waiver of any right to

                                                                   8   oppose the Motion.

                                                                   9           WHEREFORE, the Committee respectfully requests that the Court enter an order

                                                                  10   (i) granting the Motion; (ii) (a) directing the appointment of a chapter 11 trustee in the Case, or, in

                                                                  11   the alternative, (b) terminating the Debtor’s plan and solicitation exclusivity and granting leave,
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   standing and authority to the Committee to prosecute causes of action against any of the Insiders;
                                        LOS ANGELES, CALIFORNIA




                                                                  13   and (iii) granting such and further relief as may be just and appropriate.
                                           ATTORNEYS AT LAW




                                                                  14    Dated:     March 1, 2022                       PACHULSKI STANG ZIEHL & JONES LLP
                                                                  15
                                                                                                                       By       /s/ Jeffrey W. Dulberg
                                                                  16                                                            Jeffrey W. Dulberg
                                                                  17                                                            [Proposed] Counsel to the Official Committee
                                                                                                                                of Unsecured Creditors
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                                                                   1           The Committee of Creditors Holding Unsecured Claims (the “Committee”) appointed in the

                                                                   2   chapter 11 case (the “Case”) of Jinzheng Group (USA) LLC, the above-captioned debtor and debtor

                                                                   3   in possession (the “Debtor”), hereby submits this Motion for (I) the Appointment of a Chapter 11

                                                                   4   Trustee, or in the Alternative, (II) (A) Termination of Plan and Solicitation Exclusivities and (B)

                                                                   5   Authorizing Standing for the Committee of Creditors Holding Unsecured Claims to Prosecute Actions

                                                                   6   Against Insiders of the Debtor (the “Motion”), and in support thereof respectfully states as follows:

                                                                   7                            MEMORANDUM OF POINTS AND AUTHORITIES
                                                                   8                                                            I.

                                                                   9                                         PRELIMINARY STATEMENT

                                                                  10           The Committee is compelled to seek the critical relief requested herein to put a stop to a

                                                                  11   Debtor that is proceeding in bad faith and putting the interests of its principal ahead of creditors.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   Notably, Max Yang, purportedly acting under a power of attorney issued by Jianqing Yang, and
                                        LOS ANGELES, CALIFORNIA




                                                                  13   advised by replacement bankruptcy counsel funded by an affiliate of both Jianqing Yang and Max
                                           ATTORNEYS AT LAW




                                                                  14   Yang, is all but running amok.3 For instance, the Debtor’s new management and counsel

                                                                  15   strategically re-scheduled all non-insider general unsecured claims as “contingent, unliquidated

                                                                  16   and/or disputed,” and objected to the proofs of claim of the Committee members individually, as

                                                                  17   well as the claims of two non-Committee members so far, leaving only the more than $43 million

                                                                  18   claim of Insider Jianqing Yang as the sole general unsecured claim. The Debtor also told this Court

                                                                  19   in a filing that it will seek to disband the Committee, despite the Committee’s constructive role so

                                                                  20   far in obtaining a promise from the Debtor of a 100% recovery for general unsecured creditors under

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                                                                        Application of Debtor and Debtor-In-Possession to Employ Shioda Langely & Chang LLP as General Insolvency
                                                                  24   Counsel [Local Rule 2014(b)(2)], filed December 6, 2021 [Docket No. 49 at 2:28 and 3:1-4] (“SLC Employment
                                                                       Application”) (Shioda Langely & Chang LLP (“SLP LLP”) states that it was “retained after the filing of the case to
                                                                  25   substitute out Donna C. Bullock, the filing attorney, SLP LLP received total retainer in the amount of $40,000 from LT
                                                                       Global Investment on behalf of Jianqing Yang, the majority member of the Debtor. None of the payment came from
                                                                  26   property of the Chapter 11 estate or other estate assets. The payment was placed in SLC LLP’s segregated
                                                                       Attorney/Client Trust account.”). Max Yang’s LinkedIn profile states that he is the “CEO of LT Global Investment.”
                                                                  27   See Id. at Exhibit A ¶¶ 3 and 4 (“The source of the retainer was payment by the Applicant’s managing member Jianquing
                                                                       Yang. . . . Shioda Langley & Chang LLP received total a pre-representation retainer of $40,000, which payment was
                                                                  28   placed in Shioda Langley & Chang LLP’s segregate Attorney/Client Trust account.”).
                                                                                                                               3
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                                                                   1   the chapter 11 plan the Debtor says that it will file by March 8, 2022.4 While the Debtor is loathe to

                                                                   2   acknowledge it, this likely would not have occurred but for the Committee’s efforts in this Case to

                                                                   3   date – which the Debtor has suggested is somehow worthy of dissolution. However, after the

                                                                   4   Debtor’s proposed disallowance of all other general unsecured claims, the proposed 100% recovery

                                                                   5   would only apply to its principal’s $43 million general unsecured claim. Management’s and

                                                                   6   counsel’s action – and inaction – have also garnered a motion for relief from stay from a secured

                                                                   7   lender regarding (among others) its most valuable property, which demonstrates that new

                                                                   8   management and its chosen counsel is alienating virtually all potential classes of creditors in this

                                                                   9   Case.5

                                                                  10            The Committee, after due deliberation and a vote, has decided that it must seek the

                                                                  11   replacement of Max Yang and SLC LLP as the protectors of the estate’s assets by asking this Court
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                                                                  12   to direct the Office of United States Trustee to appoint a chapter 11 trustee. Alternatively, the
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Committee seeks an order of this Court terminating the Debtor’s plan filing and solicitation
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                                                                  14   exclusivities so that the Committee may propose a confirmable plan that takes in to account all

                                                                  15   legitimate claims, as well as authorizing the Committee to investigate and, if appropriate, bring and

                                                                  16   prosecute one or more avoidance and/or other actions against Insiders, including Jianqing Yang,

                                                                  17   whom the Debtor admitted received hundreds of thousands of dollars from the Debtor prior to the

                                                                  18   commencement of this Case.6

                                                                  19            This is a straight-forward non-operating real estate case, with a duly appointed Committee

                                                                  20   consisting of three creditors with ordinary vendor claims for construction and security services that

                                                                  21   provided valuable contributions to the value of the Debtor’s assets prepetition. The Debtor has

                                                                  22   embroiled this Case in contentiousness when it should be seeking consensus. Rather than do so, the

                                                                  23
                                                                       4
                                                                        Objection and Request for a Hearing on Application for an Order Authorizing and Approving the Employment of
                                                                  24   Pachulski Stang Ziehl & Jones LLP as Counsel to the Official Committee of Unsecured Creditors, effective as of as of
                                                                       January 25, 2022, filed February 22, 2022 [Docket No. 125 at 2:24-26].
                                                                  25
                                                                       5
                                                                         On February 24, 2022, secured lender Royalty Equity Lending LLC/Bobs LLC (the “REL”) filed the REL RFS Motion
                                                                  26   in which it claims that the Debtor is mismanaging its estate, not performing its postpetition obligations under its loan,
                                                                       and asserting that the collateral value of the real properties are less than the amounts owed by the Debtor on their loan.
                                                                  27   Docket No. 128 at 3:12-18.
                                                                       6
                                                                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy, filed September 11, 2021 [Docket No. 30]
                                                                  28   (“SoFA”) at 4.2, 30.1 and continuation sheets 3.3.
                                                                                                                                 4
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                                                                   1   Debtor has refused to schedule an agreed-upon date for Max Yang’s examination, repeatedly

                                                                   2   avoided moving forward with key reorganization initiatives and chosen anti-creditor activity versus

                                                                   3   explaining funds received by the principal while creditors remain unpaid.

                                                                   4                                                            II.

                                                                   5                                              STATEMENT OF FACTS

                                                                   6            On August 24, 2021 (the “Petition Date”), the Debtor filed a voluntary petition for relief

                                                                   7   under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”). The Debtor

                                                                   8   continues in possession of its property and is operating and managing its business as a debtor in

                                                                   9   possession pursuant to the provisions of 11 U.S.C. §§ 1107(a) and 1108. No trustee or examiner has

                                                                  10   been appointed in the Case.

                                                                  11            On January 25, 2022, the United States Trustee appointed the Committee to represent the
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                                                                  12   interests of all unsecured creditors in this Case pursuant to 11 U.S.C. § 1102 of the Bankruptcy
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Code. The members appointed to the Committee are: (i) Betula Lenta, Inc.; (ii) Pennington
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                                                                  14   Construction Advisors, Inc.; and (iii) The Phalanx Group, Inc. See Notice of Appointment and

                                                                  15   Appointment of Committee of Creditors Holding Unsecured Claims [Docket No. 93].7 Betula and

                                                                  16   Pennington provided construction services and Phalanx provided security services.

                                                                  17            The Debtor Has Been Mismanaged Postpetition. The Debtor is currently managed by

                                                                  18   Max Yang, who is neither a member nor manager of the Debtor. He has no links to the Debtor other

                                                                  19   than he was appointed “attorney in fact” for Jianqing Yang. In his Declarations filed in the case, he

                                                                  20
                                                                       7
                                                                         This Court may take judicial notice of its own docket and other public records. Fed. R. Bankr. P. 9017, incorporating
                                                                  21
                                                                       Fed. R. Evid. 201(b) (“Kinds of Facts That May Be Judicially Noticed. The court may judicially notice a fact that is not
                                                                       subject to reasonable dispute because it: . . . (2) can be accurately and readily determined from sources whose accuracy
                                                                  22   cannot reasonably be questioned.”) and 901(b)(7) (public records are self-authenticating and self-identifying: “Evidence
                                                                       About Public Records. Evidence that: (A) a document was recorded or filed in a public office as authorized by law; or
                                                                  23   (B) a purported public record or statement is from the office where items of this kind are kept.”); King v. Export Dev.
                                                                       Can. (In re Zetta Jet United States, Inc.), 2021 Bankr. LEXIS 2317, at *22-23 (Bankr. C.D. Cal. Aug. 17, 2021), citing
                                                                  24   (among other cases) Tuma v. Firstmark Leasing Corp. (In re Tuma), 916 F.2d 488, 491 (9th Cir. 1990) (indicating that
                                                                       when adjudicating issues in an adversary proceeding, judicial notice can be taken of bankruptcy records in an underlying
                                                                  25   proceeding) and Aceituno v. Vowell (In re Intelligent Direct Mktg.), 2015 U.S. Dist. LEXIS 28824, at *4 (E.D. Cal. Mar.
                                                                       3, 2015) (granting a request for judicial notice of proofs of claims filed in the underlying bankruptcy case because they
                                                                  26   were public records, and their authenticity was undisputed); Bank of Am., N.A. v. CD-04, Inc. (In re Owner Mgmt. Serv.,
                                                                       LLC), 530 B.R. 711, 717 (Bankr. C.D. Cal. 2015) (“The Court may consider the records in this case, the underlying
                                                                  27   bankruptcy case and public records. See, e.g., The Golden Gate v. Marincovich, 286 F. 105, 106 (9th Cir. 1923) ‘Every
                                                                       court takes judicial notice of its own records in the same case’”).
                                                                  28

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                                                                   1   does not describe his background or skills or relationship with Jianqing Yang. He acknowledged

                                                                   2   that the Debtor had been mismanaged before he became Jianqing Yang’s attorney in fact, and that in

                                                                   3   December 2021 he was still at his “early stages of ascertaining the facts.” Nothing in the Court

                                                                   4   record since that time shows that he has improved his ability to manage the Debtor. For instance, in

                                                                   5   the Declaration of Max Yang annexed to the Motion of Debtor for Order Extending Debtor’s

                                                                   6   Exclusivity Period to File Chapter 11 Plan and Solicit Acceptances Thereto, filed December 13,

                                                                   7   2021 [Docket No. 61] (the “Exclusivity Motion”), Max Yang states under penalty of perjury that he

                                                                   8   is the “attorney in fact for Jianqing Yang, the managing member of Debtor and Debtor-in-

                                                                   9   Possession, Jinzheng Group (USA) LLC,” id. at 5:2-3, and that the

                                                                  10                    Debtor is a real estate development company owned by Jianqing Yang.
                                                                                        Debtor was registered in California on May 25, 2016. Jianqing Yang
                                                                  11                    currently reside in China and has not been to the United States since the
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                                                                                        global outbreak of Covid-19. Betty Zheng managed the Debtor on
                                                                  12                    behalf of Jianqing Yang. . . . Concerned about the Chapter 11 case and
                                                                                        the current economic situation of the Debtor, Jianqing Yang appointed
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                                                                  13                    me as his attorney-in-fact and requested that he oversee the Chapter 11
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                                                                                        case. No one was able to give me a straight answer on the financial
                                                                  14                    affairs of the Debtor or the alleged refinancing efforts. . . . . [W]e are
                                                                                        still at the early stages of ascertaining the facts and what led to the
                                                                  15                    financial difficulties of the Debtor.
                                                                  16
                                                                       Docket No. 61 at 11:19-22, 12:12-15 and 12:18-19.
                                                                  17
                                                                               Consistent with Max Yang’s assessment of the Debtor’s management, the Debtor’s secured
                                                                  18
                                                                       lender REL has recently contended:
                                                                  19
                                                                                        Throughout the tenure of the loan, Movant [REL, the secured lender]
                                                                  20                    has learned that the Debtor has engaged in mismanagement of the estate
                                                                                        both pre-petition and post-petition. Furthermore, despite the yeoman
                                                                  21                    efforts of Debtor’s second counsel, the Debtor in Possession has not
                                                                                        demonstrated that it can properly manage the bankruptcy effectively
                                                                  22                    following the filing. The Debtor’s Monthly Operating Reports
                                                                                        (“MORS”) provide very little insight into the expenses however what is
                                                                  23                    most concerning outside of payroll and accounting expenses, the
                                                                                        property is not being serviced.
                                                                  24
                                                                       Memorandum of Points and Authorities for Relief from Stay, filed February 24, 2022 [Docket No.
                                                                  25
                                                                       128 at 3:12-17].
                                                                  26

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                                                                   1           The Debtor’s filings with this Court are inconsistent and misleading. The Debtor

                                                                   2   recently described itself in filings with this Court8 as a “single member LLC that is wholly-owned by

                                                                   3   Mr. Jiaqing Yang” that acquired prepetition “approximately 32 contiguous acres in Los Angeles that

                                                                   4   it intended to develop. . . .”9 The Debtor’s other filings, however, are inconsistent with

                                                                   5   representations made to this Court recently.

                                                                   6           The chapter 11 petition was signed by Betty Zheng, as Manager of the Debtor, which is a

                                                                   7   California limited liability company (LLC). Voluntary Petition for Non-Individuals Filing for

                                                                   8   Bankruptcy, filed on the Petition Date [Docket No. 1 at 4 of 11]. The Corporate Resolution

                                                                   9   Authorizing Filing, filed on September 7, 2021 [Docket No. 14], lists Betty Zheng as a “Member-

                                                                  10   Manager” (with the word “member” presumably meaning “an owner of a membership interest in an

                                                                  11   LLC”), Jianqing Yang’s signature is that of his unidentified “attorney in fact” and Betula is a
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                                                                  12   signatory but its relationship to the Debtor and the other signatories is not identified therein; in the
                                        LOS ANGELES, CALIFORNIA




                                                                  13   resolution, the Debtor is said to be managed by Betty Zheng. The Corporate Ownership Statement
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                                                                  14   Pursuant to Fed. R. Bankr. P. 1007(a)(1) and 7007.1, and LBR 1007-4, filed September 7, 2021

                                                                  15   [Docket No. 15] is signed by Betty Zhang as Manager, but identifies no 10% or more direct or

                                                                  16   indirect owners of the Debtor. Betty Zheng also signed the Declaration Under Penalty of Perjury

                                                                  17   for Non-Individual Debtors, also filed September 7, 2021 [Docket No. 16], as Manager, in which she

                                                                  18   stated that Schedules A/B, D, G and H are true and correct. The List of Equity Security Holders, filed

                                                                  19   September 7, 2021 [Docket No. 18], shows Jianqing Yang and Betula as members, and Jianqing

                                                                  20   Yang, Betula and Betty Zhen as “co-managers of the Debtor.”

                                                                  21           The Debtor’s valuation of its assets is wildly inconsistent with its lender’s appraisals,

                                                                  22   and so must be investigated. The Debtor’s valuation of its assets has been challenged by its

                                                                  23   secured lender REL, with an alleged differential of approximately $21 million in value – an

                                                                  24

                                                                  25

                                                                  26
                                                                       8
                                                                        E.g., Objection to Proof of Claim No. 20 of Pennington Construction Advisors, Inc., filed February 16, 2022 [Docket
                                                                  27   No. 107] (“Objection to Pennington Claim”) at 3:14-16.
                                                                       9
                                                                        The Debtor’s 32 acres of land property is located at 2929 Amethyst Street, Los Angeles 90032, and is referred to by
                                                                  28   parties as the “Amethyst Property.”
                                                                                                                                7
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                                                                   1   approximately 72% discrepancy. The Debtor earlier represented to this Court10 that it owns real

                                                                   2   property with an aggregate value of $29,976,000 that is subject to only $9,233,000 of secured debt

                                                                   3   on its most valuable property (the Amethyst Property) with a collateral value of $26,440,000, and a

                                                                   4   value of $23,450,000 for such property per an appraisal. Also, Max Yang declared under penalty of

                                                                   5   perjury that the “Los Angeles Properties were purchased between August 2016 and July of 2017

                                                                   6   [for] a little over 36 million dollars all of which was contributed by Jianqing Yang as a capital

                                                                   7   contribution to the Debtor. Jianqing Yang also contributed at least 2 properties personally owned by

                                                                   8   him to the Debtor.” Declaration of Max Yang in support of the Exclusivity Motion, Docket No. 61

                                                                   9   at 11:23-27.

                                                                  10           However, the Debtor’s secured lender for the vast majority of the Debtor’s real property (by

                                                                  11   size and value) recently stated to this Court that the appraised aggregate value of three of the
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                                                                  12   Debtor’s real properties, including the Amethyst Property, is less than its approximately $10 million
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                                                                  13   of secured debt. As stated above, on February 24, 2022, the secured lender filed a motion for relief
                                           ATTORNEYS AT LAW




                                                                  14   from stay in order to proceed with its remedies outside of bankruptcy [Docket No. 127] and also

                                                                  15   filed its related memorandum of points and authorities [Docket No. 128] (collectively the “REL RFS

                                                                  16   Motion”) in which it claims that the Debtor is not performing its postpetition obligations under their

                                                                  17   loans (as it says is demonstrated in part by its Monthly Operating Reports lacking expected

                                                                  18   information), asserting that the collateral value of these real properties are less than the amounts

                                                                  19   owed by the Debtor on their loans. The Declaration of Rommy Shy annexed to the REL RFS Motion

                                                                  20   asserts an appraised value of $6,890,000 for the Amethyst Property, $795,000 for the 2526 Lincoln

                                                                  21   Park Property (as defined by such lender) and $1,050,000 for the 2520 Lincoln Park Property, for a

                                                                  22   total of $8,735,000. The discrepancy between the Debtor’s valuation of its estate’s real property

                                                                  23   assets and the lender’s valuation needs to be investigated and evaluated by either the Committee or,

                                                                  24   as requested herein, a chapter 11 trustee.

                                                                  25           The Debtor effectively proposes to pay its principal’s claim a 100% recovery but not

                                                                  26   pay any other general unsecured claims anything. As recently as February 22, 2022, the Debtor

                                                                  27   10
                                                                         Schedule A/B: Assets – Real and Personal Property, filed September 7, 2021 [Docket No. 19] at Part 1(3) (Cash and
                                                                       cash equivalents); Part 9(55-56) and Schedule D: Creditors Who Have Claims Secured by Property at Part 1. Neither of
                                                                  28   these two schedules were subsequently amended (per this Court’s docket).
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                                                                   1   stated that it “will be filing a plan and disclosure statement within two weeks [i.e., by March 8,

                                                                   2   2022] that will pay allowed unsecured claims in full. The Plan will be funded by new contributions

                                                                   3   from the Debtor’s sole member, Jianqing Yang.”11

                                                                   4           However, the Debtor is not honoring any nonpriority general unsecured claims save Jianqing

                                                                   5   Yang’s. On September 11, 2021, the Debtor filed its Schedule E/F: Creditors Who Have Unsecured

                                                                   6   Claims [Docket No. 31]. In it, the Debtor listed each of the Committee members. For Betula and

                                                                   7   Phalanx, the Debtor lists their claims without checking the boxes for “contingent, unliquidated or

                                                                   8   disputed (“C/U/D Boxes”); for Pennington, it checked only the “unliquidated” box. Id. at 3.4

                                                                   9   (Betula), 3.16 (Pennington) and 3.2 (Phalanx). Then, once Max Yang stepped in, the Debtor started

                                                                  10   implementing a bad faith, scorched earth strategy against its unsecured creditors and their

                                                                  11   Committee. On the day before the Committee was appointed, the Debtor filed its amended Schedule
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                                                                  12   E/F, checking all of the C/U/D Boxes for Betula, Pennington and Phalanx, as well as one or more of
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                                                                  13   the C/U/D Boxes for all other nonpriority general unsecured creditors, except for its principal
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                                                                  14   Jianqing Yang for his claim for $43,523,255.42 for “Loans to company.” Id. at 3.13. In other

                                                                  15   words, suspiciously, the Debtor’s amended Schedule E/F left the estate with no non-insider general

                                                                  16   unsecured creditors with allowed claims despite the Debtor’s prepetition business as a real estate

                                                                  17   developer.

                                                                  18           Also, less than a month after the Committee was appointed, the Debtor objected to the proofs

                                                                  19   of claim of each Committee member [Docket Nos. 107, 113 and 120], and announced it would seek

                                                                  20   to disband the Committee and deny it its counsel of choice at this Court’s March 22, 2022 hearing

                                                                  21   [Docket No. 125 at 2:5-7]. Such threat would be carried out only after the Committee’s presence

                                                                  22   and actions forced the Debtor to announce that it would propose a 100 cents on the dollar plan

                                                                  23   funded by a supposedly new contribution from Jianqing Yang. Id. at 2:22-26. Such promise,

                                                                  24   however, could easily prove illusory if the Committee is disbanded. What happens to this promised

                                                                  25   equity contribution and 100% recovery if a significant amount of non-insider general unsecured

                                                                  26   claims are ultimately allowed and/or Jianqing Yang’s $43,523,255.42 claim is disallowed or if such

                                                                  27   11
                                                                         Objection and Request for a Hearing on Application for an Order Authorizing and Approving the Employment of
                                                                       Pachulski Stang Ziehl & Jones LLP as Counsel to the Official Committee of Unsecured Creditors, effective as of as of
                                                                  28   January 25, 2022, filed February 22, 2022 [Docket No. 125 at 2:24-26].
                                                                                                                               9
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                                                                   1   claim is equitably subordinated under 11 U.S.C. § 510(b) of the Bankruptcy Code or recharacterized

                                                                   2   as equity? Will he still make the contribution?

                                                                   3            Jianqing Yang received substantial prepetition transfers that the Debtor is not

                                                                   4   challenging. The Debtor admits that Jianqing Yang was paid the amounts of $46,800, $184,483.28

                                                                   5   and $133,246 within one year before the Petition Date, identifying such payments as loan

                                                                   6   repayments, particularly stating that the $133,246 amount was for “Unsecured loan repayments.”12

                                                                   7   Despite requests from the Committee, the Debtor has offered no evidence that is has investigated the

                                                                   8   propriety of these payments.

                                                                   9            The Debtor’s counsel is protecting the Insiders by its obstreperous behavior and

                                                                  10   general uncooperativeness towards the Committee. The copies of emails annexed to the

                                                                  11   Dulberg Declaration as Exhibits A - D13 demonstrate the SLC’s obstreperous behavior and
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                                                                  12   general uncooperativeness that often occurs when a debtor is seeking to inordinately benefit one
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                                                                  13   or more Insiders. SLC was retained by the Debtor as of November 21, 2021,14 and proceeded to
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                                                                  14   do little in this Case until February 15, 2022 when the Debtor’s counsel revealed the Debtor’s

                                                                  15   and SLC’s course of action:

                                                                  16                     By the end of the week, I would like to try to get out at least 4-5 claim
                                                                                         objections including those of committee members. We plan on try to get
                                                                  17                     a hearing to dissolve the committee set for hearing on March 22 along
                                                                                         with the claim objections. I would suggest you set your employment
                                                                  18                     application for the same day. We will be filing a notice of objection
                                                                                         along with the motion to disband the committee.
                                                                  19

                                                                  20   Email re Jinzheng from Christopher Langley to Jeffrey Dulberg, cc Steven Chang, sent Feb. 15,

                                                                  21

                                                                  22   12
                                                                         SoFA at 4.2, 30.1 and continuation sheets 3.3. It is unclear if any of the amounts listed in a particular item of the
                                                                       SoFA are subsumed within other item(s) in the SoFA referencing Jianqing Yang.
                                                                  23
                                                                       13
                                                                         [Exhibits include: (a) Email re Jinzheng from Christopher Langley to Jeffrey Dulberg, sent Feb. 15, 2022 at 7:54 pm;
                                                                  24   (b) Email re Jinzheng from Jeffrey Dulberg to Christopher Langley, sent Feb. 17, 2022 at 4:20 pm; (c) Email re Jinzheng
                                                                       from Christopher Langley to Jeffrey Dulberg, sent Feb. 17, 2022 at 5:04 pm; and (d) Email re Jinzheng from Jeffrey
                                                                  25   Dulberg to Christopher Langley sent Feb. 17, 2022 at 11:56 pm.
                                                                       14
                                                                         Order Granting Application to Employ Shioda, Langley & Change LLP as General Insolvency Counsel for Debtor in
                                                                  26   Possession, entered January 18, 2022 [Docket No 81 ¶ 2]. See Addendum to Employment Application of Shioda Langley
                                                                       & Chang LLP as General Counsel to Add Effective Date of November 21, 2021, filed December 16, 2021 [Docket No.
                                                                  27   65 ¶ 4] (“The effective date of employment should have been listed as November 21, 2021, which is the date the
                                                                       substitution of attorney was signed by Jianqing Yang, the Applicant’s manager.”); Substitution of Attorney [LBR 2091-
                                                                  28   1(b)], filed December 16, 2021 [Docket No. 48].
                                                                                                                                 10
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                                                                   1   2022 at 7:57 pm. The Committee’s counsel replied:

                                                                   2                    Choosing litigation in the face of that consideration [an offer by
                                                                                        Committee counsel to resign if Committee is dissolved] would make it
                                                                   3                    clear that Max’s prerogative is to disenfranchise legitimate creditors
                                                                                        versus meeting his fiduciary obligation to work with stakeholders, etc.
                                                                   4                    Please reconsider so that we can collectively stay focused on
                                                                                        restructuring.
                                                                   5

                                                                   6   Email re Jinzheng from Jeffrey Dulberg to Christopher Langley, cc Steven Chang, sent Feb. 17,

                                                                   7   2022 at 4:20 pm. Langley replied:

                                                                   8                    I do not see what benefit you serve in this case. We don’t believe that
                                                                                        any of your committee members have valid claims against the Debtor.
                                                                   9                    ...
                                                                  10                    Please tell me who you believe the legitimate creditors to be.
                                                                  11
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                                                                       Email re Jinzheng from Christopher Langley to Jeffrey Dulberg, sent Feb. 17, 2022 at 5:04 pm.
                                                                  12
                                                                       Dulberg replied:
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                                                                  13
                                           ATTORNEYS AT LAW




                                                                                        . . . .In any event, as you have refused all requests for informal
                                                                  14                    discussions, the Committee going is compelled to take Max’s
                                                                                        deposition regarding the control issues, his appointment, the state of
                                                                  15                    the case, etc. Let me know if you will have him sit on March 7, 10, or
                                                                                        11 at 10 am for that in our offices in Century City or if you and he are
                                                                  16                    refusing to do so and will require a Court order. . . .
                                                                  17                    It seems to me the proper cause of action would be for you to reach out
                                                                                        to the United States Trustee’s office to ask them to investigate their
                                                                  18                    selection. It’s only if that office were to refuse to do so that you should
                                                                                        even consider taking action in Court to reform the Committee.
                                                                  19
                                                                       Email re Jinzheng from Jeffrey Dulberg to Christopher Langley sent Feb. 17, 2022 at 11:56 pm.
                                                                  20

                                                                  21           As of the date of the filing of this Motion, the Debtor’s counsel has yet to respond with an

                                                                  22   available date for Max Yang’s examination, nor any principled reason to not conduct such

                                                                  23   examination, despite persistent requests from counsel to the Committee.
                                                                  24

                                                                  25

                                                                  26

                                                                  27

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                                                                                                                          11
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                                                                   1                                                                III.

                                                                   2                                                          ARGUMENT

                                                                   3   A.       The Court Must Appoint a Trustee Upon a Finding of Cause of Where It is in the
                                                                                Interests of Creditors and Other Interests of the Estate.
                                                                   4

                                                                   5            11 U.S.C. § 1104(a) of the Bankruptcy Code provides that the Bankruptcy Court shall order

                                                                   6   the appointment of a trustee, at any time after the commencement of the case but prior to

                                                                   7   confirmation of a plan, on request of a party in interest or the U.S. Trustee, and after notice and a

                                                                   8   hearing:

                                                                   9
                                                                                          (1) for cause, including fraud, dishonesty, incompetence, or gross
                                                                  10                      mismanagement of the affairs of the debtor by current management,
                                                                                          either before or after the commencement of the case, or similar cause,
                                                                  11                      but not including the number of holders of securities of the debtor or the
                                                                                          amount of assets or liabilities of the debtor; or
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                                                                  12
                                                                                          (2) if such appointment is in the interests of creditors, any equity
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                                                                  13                      security holders, and other interests of the estate, without regard to the
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                                                                                          number of holders of securities of the debtor or the amount of assets or
                                                                  14                      liabilities of the debtor.

                                                                  15   Id. § 1104(a)(1)-(2).

                                                                  16            Subsection (a)(1) addresses management’s pre- and post-petition misdeeds or

                                                                  17   mismanagement, while subsection (a)(2) provides the court with “particularly wide discretion” to

                                                                  18   appoint a trustee even absent wrongdoing or mismanagement. In re Bellevue Place Assocs., 171

                                                                  19   B.R. 615, 623 (Bankr. N.D. Ill. 1994). Where the court finds either that cause exists or that

                                                                  20   appointment is in the interest of the parties, an order for the appointment of a trustee is mandatory.

                                                                  21   Off. Comm. of Asbestos Pers. Injury Claimants v. Sealed Air Corp. (In re W.R. Grace & Co.), 285

                                                                  22   B.R. 148, 158 (Bankr. D. Del. 2002); Fukutomi v. U.S. Trustee (In re Bibo, Inc.), 76 F.3d 256, 258

                                                                  23   (9th Cir. 1996) (The [Bankruptcy] Code says a trustee ‘shall’ be appointed.”).15

                                                                  24

                                                                  25   15
                                                                         In re Pasadena Adult Residential Care, Inc. 2015 Bankr. LEXIS 3601, at *44-49 (Bankr. C.D. Cal. Oct. 23, 2015)
                                                                       (“The parties seeking appointment of a Chapter 11 trustee under 11 U.S.C. § 1104(a) have the burden of proving
                                                                  26   appropriate grounds exist for such appointment by the preponderance of the evidence; holding appointment of a trustee
                                                                       warranted under both subsections (1) and (2) of 1104(a) of the Bankruptcy Code: “The evidentiary record above
                                                                  27   demonstrates, the Pasadena Debtors have acted in bad faith in making the misrepresentations to their creditors, including
                                                                       those represented by the Committee and the Professionals, and have not acted responsibly in the treatment of the
                                                                  28   creditors and the patients under their charge, in reckless disregard for the dire financial realities of its businesses.”); id. at
                                                                       45 (“Some cases have held that, once a court finds that ‘cause’ exists to appoint a trustee under 11 U.S.C. § 1104(a)(1), a
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                                                                   1             The presumption that a debtor should remain in possession of its estate and in control of its

                                                                   2   affairs holds only if management “can be depended upon to carry out the fiduciary responsibilities of

                                                                   3   a trustee.” Commodity Futures Trading Com v. Weintraub, 471 U.S. 343, 355, 105 S. Ct. 1986

                                                                   4   (1985); see also In re Marvel Ent. Grp., 140 F.3d 463, 473 (3d Cir. 1998) (“[I]n the appropriate case,

                                                                   5   the appointment of a trustee is a power which is critical for the Court to exercise in order to preserve

                                                                   6   the integrity of the bankruptcy process and to insure that the interests of creditors are served.”); In re

                                                                   7   Ionosphere Clubs, Inc., 113 B.R. 164, 169 (Bankr. S.D.N.Y. 1990) (“a debtor-in-possession must act

                                                                   8   as a ‘fiduciary of his creditors’ to ‘protect and to conserve property in his possession for the benefit

                                                                   9   of creditors,’ and to refrain [ ] from acting in a manner which could damage the estate . . .” (citing In

                                                                  10   re Sharon Steel Corp. 86 B.R. 455, 457 (Bankr. W.D. Pa. 1988), aff’d, 871 F.2d 1217 (3d Cir.

                                                                  11   1989)).
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                                                                  12             Among the fiduciary duties of a debtor in possession is the primary goal of the bankruptcy
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                                                                  13   process: “to get the creditors paid.” In re Ionosphere Clubs, 113 B.R. at 169 (quoting In re Pied
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                                                                  14   Piper Casuals, Inc., 40 B.R. 723, 727 (Bankr. S.D.N.Y. 1984). Importantly, “because the [debtor in

                                                                  15   possession’s] fiduciary obligation is to the estate, and not to one group, the [debtor in possession]

                                                                  16   must act to benefit the estate as a whole.” In re Microwave Prods. of Am., Inc., 102 B.R. 666, 671

                                                                  17   (Bankr. W.D. Tenn. 1989) (emphasis added); Hirsch v. Pa. Textile Corp., Inc. (In re Centennial

                                                                  18   Textiles, Inc.), 227 B.R. 606, 612 (Bankr. S.D.N.Y. 1998) (a chapter 11 debtor and its managers owe

                                                                  19   fiduciary duties to the estate). Moreover, a debtor in possession’s fiduciary duties also “include a

                                                                  20   duty of care to protect the assets, a duty of loyalty and a duty of impartiality.” In re Bowman, 181

                                                                  21   B.R. 836, 843 (Bankr. D. Md. 1995). To fulfill its duty of loyalty, a debtor in possession must

                                                                  22   “avoid self-dealing, conflicts of interest and the appearance of impropriety.” Id.

                                                                  23             As explained more fully below, the appointment of a chapter 11 trustee is warranted under

                                                                  24   the circumstances, pursuant to either 11 U.S.C. § 1104(a)(1) or 1104(a)(2) of the Bankruptcy Code.

                                                                  25

                                                                  26

                                                                  27   trustee shall be appointed and there is no discretion to deny relief.”); In re Pasadena Adult Residential Care, Inc., 2015
                                                                       Bankr. LEXIS 3579, at *44 (Bankr. C.D. Cal. Oct. 22, 2015)(same).
                                                                  28

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                                                                   1           While section 1104(a)(l) of the Bankruptcy Code expressly identifies four bases upon which

                                                                   2   “cause” may be found—fraud, dishonesty, incompetence, and gross mismanagement—those

                                                                   3   enumerated grounds are not exclusive. Additional grounds may be determined on a case-by-case

                                                                   4   basis. See In re Savino Oil & Heating Co., 99 B.R. 518, 525 (Bankr. E.D.N.Y. 1989); In re Sharon

                                                                   5   SteelCorp., 871 F.2d at 1226. Cause also may be established by the: (1) materiality of the

                                                                   6   misconduct of the debtor’s management; (2) evenhandedness or lack of same in dealings with

                                                                   7   insiders or affiliated entities vis-a-vis other creditors; (3) existence of prepetition voidable

                                                                   8   preferences or fraudulent transfers; (4) unwillingness or inability of management to pursue estate

                                                                   9   causes of action; (5) conflicts of interest on the part of management interfering with its ability to

                                                                  10   fulfill fiduciary duties to the debtor; and (6) self-dealing by management or waste or squandering of

                                                                  11   corporate assets. In re Marvel Entm’t Grp., Inc., 140 F.3d at 472-73; In re Sharon Steel Corp., 871
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                                                                  12   F.2d at 1228; In re Intercat, Inc., 247 B.R. 911, 920-21 (Bankr. S.D. Ga. 2000).
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                                                                  13           “Cause” is often found based on a conflict of interest between a debtor’s management and
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                                                                  14   the interests of the estate and its creditors. Cajun Electric Power Coop., Inc., 74 F.3d 599 (5th Cir.

                                                                  15   1996), cert. denied 519 U.S. 808, 117 S. Ct. 51 (1996) (conflict of interest is sufficient reason for

                                                                  16   appointment of a chapter 11 trustee). This conflict arises out of the debtor-in-possession’s duty to

                                                                  17   operate the estate as would a trustee. “If a debtor remains in possession, the debtor’s directors have

                                                                  18   essentially the same fiduciary obligations to creditors and shareholders as would the trustee for a

                                                                  19   debtor out of possession.” Commodity Futures Trading Commission v. Weintraub, 471 U.S. at 355;

                                                                  20   In re Marvel Entertainment Group, Inc., 140 F.3d at 474 (breach of a debtor’s fiduciary duty “to

                                                                  21   protect and conserve property in its possession for the benefit of creditors” warrants appointment of

                                                                  22   a trustee).

                                                                  23           Because the debtor’s fiduciary obligation is to the estate and creditors, and not to its officers,

                                                                  24   the obligation carries an inherent prohibition against self-dealing. In re Van Brunt, 46 B.R. 29, 30

                                                                  25   (Bankr. W.D.Wis. 1984); In re Microwave Products of America, Inc., 102 B.R. 666, 671 (Bankr.

                                                                  26   W.D.Tenn. 1989). As described at length in Microwave, the prohibition against self-dealing

                                                                  27   precludes directors and management from using their positions and control to further their own

                                                                  28   private interest or otherwise exploit their position. Id. at 672. In Microwave, a trustee was

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                                                                   1   appointed based on attempts by board members to structure deals on terms more favorable to them

                                                                   2   than to other creditors. Id. See also In re PRS Ins. Grp., Inc., 274 B.R. 381, 387 (Bankr. D. Del.

                                                                   3   2001) (use of corporate assets for the personal benefit of insiders, resulting in the deterioration of the

                                                                   4   debtors’ assets , further evidences “gross mismanagement” and mandates appointment of a

                                                                   5   chapter 11 trustee.). Thus, In re William H. Vaughan & Co., 40 B.R. 524, 526 (Bankr. E.D. Pa.

                                                                   6   1984) held that appointment of a trustee was necessary because the debtor could not be trusted to

                                                                   7   scrutinize dealings between debtor and debtor’s president.

                                                                   8            Here, as discussed above, (1) the Debtor’s replacement management and second bankruptcy

                                                                   9   counsel are doing all they can to pay Jianqing Yang’s claims and maintain his equity interest in the

                                                                  10   Debtor, while contesting the claims of legitimate creditors; (2) the Debtor lacks any semblance of

                                                                  11   evenhandedness between creditors and the Insiders, clearly favoring Jianqing Yang; (3) the Debtor
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                                                                  12   admits that Jianqing Yang received prepetition transfers, which may be avoidable, yet has not
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                                                                  13   objected to his claim, inter alia, under section 502(d) of the Bankruptcy Code for not repaying an
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                                                                  14   avoidable transfer; (4) the re-scheduling of all claims in Schedule E/F to CUD Claims other than

                                                                  15   Jianqing Yang’s over $43 million claim and second counsel’s strategic uncooperativeness (bereft of

                                                                  16   even common courtesies between counsel) demonstrates that Max Yang and the Debtor’s second

                                                                  17   counsel – paid for by Jianqing Yang 16 – would be unwilling to pursue estate causes of action against

                                                                  18   Jianqing Yang; (5) Max Yang and its Jianqing Yang -paid for second counsel have conflicts of

                                                                  19   interest that interfere with their ability to fulfill fiduciary duties to the Debtor, and (6) the Debtor

                                                                  20   through its gross mismanagement has wasted and squandered its assets, particularly by allowing

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                                                                  23      Accord In re Hathaway Ranch Partnership, 116 B.R. 208, 219 (Bankr, C.D. Cal. 1990) (Zurzulo) (“Third parties do
                                                                       not transfer property or funds to an attorney to represent a debtor in possession unless that representation is in the best
                                                                  24   interest of the third party. It is often the case that the interests of the third party are not identical to the interests of the
                                                                       debtor in possession in its role as fiduciary of the bankruptcy estate. Thus by accepting payment from a third party, the
                                                                  25   proposed counsel for the debtor in possession necessarily has a conflict of interest in that counsel is serving two masters -
                                                                       - the one who paid counsel and the one counsel is paid to represent. I find that this is an actual conflict of interest that
                                                                  26   disqualifies a professional from being employed pursuant to 11 U.S.C. § 327 absent a showing that the interests of the
                                                                       third party and the bankruptcy estate are identical upon notice to all creditors, equity security holders and other parties in
                                                                  27   interest.”) (cited in 1 Collier Comp, Employ & Appoint of Trustees & Prof. ¶ 2.05[3] n.8). Such Collier states “[w]here
                                                                       the insider has received payments that are prima facie preferences under section 547(b), there is a potential conflict of
                                                                  28   interest which is almost certain to ripen into an actual conflict one the payments are investigated and prosecuted. Id. at
                                                                       text after n.23 reference).
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                                                                   1   them to be the subject of a secured lender’s relief from stay motion that if granted would deprive the

                                                                   2   estate and its creditors of the vast majority of the Debtor’s assets (by size and value).

                                                                   3           Once a party has proven “cause” under section 1104(a)(1), a bankruptcy court must grant the

                                                                   4   requested relief. See Bibo, 76 F.3d at 258; In re V. Savino Oil, 99 B.R. at 525; In re Deena

                                                                   5   Packaging Indus., Inc., 29 B.R. 705, 706 (Bankr. S.D.N.Y. 1983). Quoting V. Savino Oil

                                                                   6   approvingly, the Third Circuit stated:

                                                                   7                    The willingness of Congress to leave a debtor-in-possession is premised
                                                                                        on an expectation that current management can be depended upon to
                                                                   8                    carry out the fiduciary responsibilities of a trustee. And if the debtor-
                                                                                        in-possession defaults in this respect, Section 1104(a)(1) commands
                                                                   9                    that the stewardship of the reorganization effort must be turned over to
                                                                                        an independent trustee.
                                                                  10

                                                                  11   In re Marvel Entertainment Grp., Inc., 140 F.3d at 474 (quoting In re V. Savino Oil, 99 B.R. at 526)
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                                                                  12   (emphasis added).
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                                                                  13           Section 1104(a)(2) of the Bankruptcy Code allows the appointment of a trustee even when no
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                                                                  14   “cause” exists. See In re Sharon Steel Corp., 871 F.2d at 1226; In re Ionosphere Clubs, 113 B.R. at

                                                                  15   168. Under section 1104(a)(2), the Court may appoint a trustee, in its discretion, to address “the

                                                                  16   interests of the creditors, equity security holders, and other interests of the estate.” 11 U.S.C. §

                                                                  17   1104(a)(2), 871 F.2d at 1226.

                                                                  18           In determining the best interests of creditors and the estate, courts “resort to [their] broad

                                                                  19   equity powers ... equitable remedies are a special blend of what is necessary, what is fair and what is

                                                                  20   workable.” In re Hotel Assocs., Inc., 3 B.R. 343, 345 (Bankr. E.D. Pa. 1980); see In re Wings Digital

                                                                  21   Com., 2005 Bankr. LEXIS 3476, at *14 (Bankr. S.D.N.Y. May 16, 2005) (section 1104(a)(2) is a

                                                                  22   “lesser standard” than section 1104(a)(1)). In exercising these broad equitable powers to appoint a

                                                                  23   trustee under Bankruptcy Code § 1104(a)(2), courts “eschew rigid absolutes and look to the practical

                                                                  24   realities and necessities inescapably involved in reconciling competing interests.” In re Hotel

                                                                  25   Assocs., Inc., 3 B.R. at 345. Accordingly, the standard for appointment of a chapter 11 trustee under

                                                                  26   section 1104(a)(2) is flexible. See 124 Cong. Rec. H11, 102 (daily ed. Sept. 28, 1978); S17, 419

                                                                  27   (daily ed. October 6, 1978).

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                                                                   1           Under section 1104(a)(2), courts “look to the practical realities and necessities.” In re Euro-

                                                                   2   American Lodging Corp., 365 B.R. at 427. Among the factors courts consider are “(i) the

                                                                   3   trustworthiness of the debtor; (ii) the debtor in possession’s past and present performance and

                                                                   4   prospects for the debtor’s rehabilitation; (iii) the confidence – or lack thereof – of the business

                                                                   5   community and of creditors in present management; and (iv) the benefits derived by the appointment

                                                                   6   of a trustee, balanced against the cost of the appointment.” Id. (citations omitted). Each of the four

                                                                   7   considerations described above warrants appointment of a trustee here.

                                                                   8           An independent trustee should be appointed under section 1104(a)(2) of the Bankruptcy

                                                                   9   Code where, as here, a debtor and/or its management and insiders suffer(s) from material conflicts of

                                                                  10   interest and cannot be trusted to conduct independent investigations of questionable transactions in

                                                                  11   which they were involved. See, e.g., In re PRS Ins. Group, Inc., 274 B.R. at 389 (appointment of
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                                                                  12   trustee appropriate under section 1104(a)(2) where causes of action against insiders are a significant
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                                                                  13   asset of the estate); In re Microwave Prods. of Am., Inc., 102 B.R. at 676 (chapter 11 trustee
                                           ATTORNEYS AT LAW




                                                                  14   appointed where debtor was “not in a strong-posture to pursue possible claims” due to conflicts of

                                                                  15   interest and fraudulent transfers, and “a trustee would likely be able to investigate claims that could

                                                                  16   result in additional sums of money coming into the estate”); In re L.S. Good & Co., 8 B.R. 312

                                                                  17   (Bankr. N.D. W.Va. 1980) (appointing trustee under section 1104(a)(2) where “[t]he magnitude of

                                                                  18   the number of inter-company transactions places current management of [the debtor] in a position of

                                                                  19   having grave potential conflicts of interest and the presumption arises that the current management

                                                                  20   of [the debtor] will be unable to make the impartial investigations and decisions demanded in

                                                                  21   evaluating and pursuing inter-company claims on behalf of [the debtor]”).

                                                                  22           Further, “[a] court is more likely to appoint a trustee under § 1104(a)(2) when reorganization

                                                                  23   is not possible, and a Debtor’s principal may be motivated to protect his own interests rather than the

                                                                  24   interests of creditors. [citation omitted] When coupled with a lack of confidence in management,

                                                                  25   and the benefits of appointing a trustee outweigh the cost, courts often find the argument for

                                                                  26   appointment of a trustee to be compelling.” In re Morningstar Marketplace, Ltd., 544 B.R. 297, 305

                                                                  27   (Bankr. M.D. Pa. 2016).

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                                                                   1           There is another benefit to the appointment of a chapter 11 trustee: since the trustee will be

                                                                   2   the holder of the Debtor’s attorney-client privilege, the estate will avoid the prospect of costly

                                                                   3   discovery disputes over the Committee’s ability to obtain documents asserted to be privileged that

                                                                   4   are pertinent to any investigation and essential for concluding it quickly and effectively.

                                                                   5   B.      As an Alternative to the Appointment of a Trustee, the Court Should Terminate
                                                                               Exclusivity for Cause.
                                                                   6

                                                                   7           Bankruptcy Code section 1121(d) provides that the court may shorten a debtor’s plan

                                                                   8   exclusivity periods for “cause.” 11 U.S.C. § 1121(d). Although the term “cause” is not defined in

                                                                   9   the Bankruptcy Code, it is well-established that “cause” is a flexible standard designed to balance the

                                                                  10   competing interests of debtors and their stakeholders. United States Savings Ass’n v. Timbers of

                                                                  11   Inwood Forest Assocs., Ltd. (In re Timbers of Inwood Forest Assocs., Ltd.), 808 F.2d 363, 372 (5th
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                                                                  12   Cir. 1987), aff’d, 484 U.S. 365 (1988) (the intent of section 1121 is to “limit the delay that makes
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                                                                  13   creditors the hostages of Chapter 11 debtors”). Ultimately, whether cause exists is based on the
                                           ATTORNEYS AT LAW




                                                                  14   “facts and circumstances in each individual case,” and “the court is granted broad discretion to

                                                                  15   determine what is sufficient cause.” In re Sharon Steel Corp., 78 B.R. 762, 763-65 (Bankr. W.D. Pa.

                                                                  16   1987). See also In re Borders Group, Inc., 460 B.R. 818, 821-22 (Bankr. S.D.N.Y. 2011) (same); In

                                                                  17   re Adelphia Comm. Corp., 352 B.R. 578, 586 (Bankr. S.D.N.Y. 2006) (same); In re Lehigh Valley

                                                                  18   Prof’l Sports Club, Inc., 2000 WL 290187, at *2 (Bankr. E.D. Pa. Mar. 14, 2000) (same). The

                                                                  19   legislative history of section 1121(d) makes clear that exclusivity “should not be employed as a

                                                                  20   tactical device to put pressure on parties in interest to yield to a plan they consider unsatisfactory.”

                                                                  21   Senate Report No. 99-764 & House Conference Report No. 99-958 (reprinted in 1986 U.S. Code

                                                                  22   Cong. & Adm. News, at 5227) see also In re All Seasons Indus., Inc., 121 B.R. 1002, 1006 (Bankr.

                                                                  23   N.D. Ind. 1990) (denying extension of exclusivity when “such an extension would have the result of

                                                                  24   continuing to hold creditors hostage to the Chapter 11 process and pressuring them to accept a plan

                                                                  25   they believe to be unsatisfactory”).

                                                                  26           As noted above, in paragraph 4 of its Exclusivity Extension Order, this Court stated: “[t]his

                                                                  27   ruling is without prejudice to any party in interest filing a motion for early termination of exclusivity

                                                                  28   upon a showing that the Henry Mayo Newhall factors no longer support the extensions granted

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                                                                   1   herein.” The Henry Mayo Newhall factors are:

                                                                   2                      (1) a first extension; (2) in a complicated case; (3) that had not been
                                                                                          pending for a long time, relative to its size and complexity; (4) in which
                                                                   3                      the debtor did not appear to be proceeding in bad faith; (5) had
                                                                                          improved operating revenues so that it was paying current expenses; (6)
                                                                   4                      had shown a reasonable prospect for filing a viable plan; (7) was
                                                                                          making satisfactory progress negotiating with key creditors; (8) did not
                                                                   5                      appear to be seeking an extension of exclusivity to pressure creditors;
                                                                                          and (9) was not depriving the Committee of material or relevant
                                                                   6                      information. . . . [A] transcendent consideration is whether adjustment
                                                                                          of exclusivity will facilitate moving the case forward toward a fair and
                                                                   7                      equitable resolution. The key question to us, then, is whether the first
                                                                                          extension of exclusivity functioned to facilitate movement towards a
                                                                   8                      fair and equitable resolution of the case, taking into account all the
                                                                                          divergent interests involved.
                                                                   9

                                                                  10   Official Comm. of Unsecured Creditors v. Henry Mayo Newhall Mem’l Hosp. (In re Henry Mayo

                                                                  11   Newhall Mem’l Hosp.), 282 B.R. 444, 452-53 (BAP 9th Cir. 2002).17
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                                                                  12            There are compelling grounds for terminating the Debtor’s plan exclusivity in this Case
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                                                                  13   because the currently known facts here do not support Henry Mayo Newhall factors four through
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                                                                  14   nine, inclusive. As discussed above, the Debtor has been mired in mismanagement and blatant

                                                                  15   favoritism toward Insiders (i.e., failing factor four due to bad faith), has not improved the Debtor’s

                                                                  16   revenues or paid all expenses (e.g., per the REL RFS Motion and its MORs) postpetition (i.e., failing

                                                                  17   factor five), as discussed herein, would not be proposing a viable plan (i.e., failing factor six), and

                                                                  18   has been unresponsive to the Committee’s and creditors’ concerns (i.e., failing factors seven, eight

                                                                  19   and nine).

                                                                  20            Patently, this Case calls for creditors, through the Committee as their fiduciary

                                                                  21   representative, to ensure, among other things, that an unbiased, highly competent and experienced

                                                                  22   plan trustee is in charge of managing and liquidating estate assets and prosecuting litigation against

                                                                  23
                                                                       17
                                                                          Cited in In re New Meatco Provisions, LLC, 2014 Bankr. LEXIS 914, at *8-10 (Bankr. C.D. Cal. Mar. 10, 2014)
                                                                  24   (“New Meatco is not an operating entity. There is no business to reorganize. This is a liquidation case which is neither
                                                                       large or complex . . . . [T]here are no unresolved contingencies that would prevent New Meatco from proposing a plan
                                                                  25   to distribute to creditors the liquidated funds of the estate. The court also questions whether New Meatco thoroughly
                                                                       appreciates its fiduciary duties to the estate and its creditors. . . . [T]here is little credible evidence upon which the court
                                                                  26   can base a finding that New Meatco will either make further progress in negotiating with creditors or be able to present a
                                                                       plan of liquidation that has creditor support and a prospect at confirmation within a reasonable period of time. The court
                                                                  27   agrees with the Creditors’ Committee that it is time the playing field is leveled so that all the players, including the
                                                                       debtor, have an even chance in proposing a plan which might be acceptable to the creditors in the case.”) (citation
                                                                  28   omitted).

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                                                                   1   insiders. Indeed, terminating exclusivity is needed to protect the interests of creditors. The quid pro

                                                                   2   quo for maintaining the panoply of rights of a debtor in possession is acting as a fiduciary for the

                                                                   3   estate and its creditors; without a trustworthy mechanism for making decisions on behalf of the

                                                                   4   Debtor and proper books and records, the Debtor certainly cannot fulfill such duties.

                                                                   5           For the foregoing reasons, the Committee has made clear to the Debtor that any Debtor’s

                                                                   6   plan that does not clearly put the estate’s interests first (as opposed to pursuing the interests of

                                                                   7   Insiders and their selected counsel for the Debtor) is unacceptable. Any plan proposed by the Debtor

                                                                   8   that does not provide a meaningful recovery for legitimate creditors and no recovery for Insiders on

                                                                   9   their disallowable, equitably subordinated or recharacterizable as equity claims will not have the

                                                                  10   Committee’s support and, the Committee believes, the support of most, if not substantially all,

                                                                  11   unsecured creditors. In light of the Debtor’s history of mismanagement and failure to oppose
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                                                                  12   Jianqing Yang’s Insider claim, a number of unsecured creditors (including the Committee’s
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                                                                  13   members) have no faith in the Debtor and would vote against any plan unilaterally proposed by the
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                                                                  14   Debtor that does not provide a meaningful recovery for all legitimate creditors, not just Jianqing

                                                                  15   Yang. Thus, plan exclusivity serves no legitimate purpose here since the Debtor’s plan (as

                                                                  16   anticipated) would not be confirmable, as it would not garner sufficient creditor support to provide

                                                                  17   one consenting impaired class, would not be feasible and likely not pass the best interests of

                                                                  18   creditors test, among other fatal flaws.

                                                                  19           The Committee is prepared to offer an alternative plan that the Committee believes that

                                                                  20   unsecured creditors will favor, which further supports the termination of the Debtor’s exclusivity.

                                                                  21   See All Seasons Indus., Inc., 121 B.R. at 1006 (denying extension of exclusivity when “such an

                                                                  22   extension would have the result of continuing to hold creditors hostage to the Chapter 11 process and

                                                                  23   pressuring them to accept a plan they believe to be unsatisfactory”; “these creditors have lost faith in

                                                                  24   the capability and perhaps the integrity of debtor’s management”); In re Crescent Beach Inn, Inc., 22

                                                                  25   B.R. 155, 160-61 (Bankr. D. Me. 1982) (“Shortening the debtor’s exclusive period for filing a plan

                                                                  26   will permit any party in interest, including parties with perhaps a more objective view of the debtor’s

                                                                  27   circumstances, to file a plan.”); Century Glove, Inc. v. First American Bank, 860 F.2d 94, 102 (3rd

                                                                  28   Cir. 1988) (“The ability of a creditor to compare the debtor’s proposals against other possibilities is a

                                                                                                                         20
                                                                       DOCS_LA:342496.8 46360/002
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                                                                   1   powerful tool by which to judge the reasonableness of proposals. A broad exclusivity provision,

                                                                   2   holding that only the debtor’s plan may be ‘on the table,’ takes this tool from creditors.”).

                                                                   3           Congress intended that exclusivity would be terminated under section 1121(d) in

                                                                   4   circumstances such as here. The law is clear that exclusivity may not be used to exert leverage

                                                                   5   upon creditors to accept a plan simply to avoid delay, and that terminating exclusivity is

                                                                   6   warranted to level the playing field and allow creditors to consider competing plans, especially in

                                                                   7   this context where the Debtor is steeped in mismanagement, and the Debtor has no hope of

                                                                   8   reorganizing or ongoing stake, and are instead liquidating all of their assets. The only reason for

                                                                   9   a creditor to vote for the Debtor’s plan would be that there is no alternative on the table.

                                                                  10   Continuing the Debtor’s exclusivity will only delay the process to promptly confirm an

                                                                  11   acceptable plan, to which the Debtor’s estate and creditors are entitled.
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                                                                  12   C.      Also, in the Absence of a Trustee, this Court Should Grant the Committee Derivative
                                                                               Standing to Prosecute Estate Claims against Insiders
                                        LOS ANGELES, CALIFORNIA




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                                                                  14
                                                                               While the Bankruptcy Code does not, in express terms, authorize committees to sue on behalf
                                                                  15
                                                                       of a debtor’s estate, the majority of circuits reaching the issue have held that Bankruptcy Code
                                                                  16
                                                                       sections 1103(c)(5) and 1109(b) imply a “qualified right for creditors committees to initiate suit with
                                                                  17
                                                                       the approval of the Bankruptcy Court where the trustee or debtor in possession unjustifiably failed to
                                                                  18

                                                                  19   bring suit or abused its discretion in not suing on colorable claims likely to benefit the reorganization

                                                                  20   estate.” In re Adelphia Commc’ns Corp., 544 F.3d 420, 424 (2d Cir. 2008); Unsecured Creditors
                                                                  21   Comm. of STN Enters. Inc v. Noves (In re STN Enterprises, Inc.) (“STN”), 770 F.2d 901, 904 (2d
                                                                  22
                                                                       Cir. 1985) (same); Adelphia Commc’ns Corp v. Bank of Am., N.A. (In re Adelphia Commc’ns Corp.)
                                                                  23
                                                                       (“Adelphia”), 330 B.R. 364 (Bankr. S.D.N.Y. 2005) (same) (citing cases), cited in 3dfx Interactive v.
                                                                  24
                                                                       nVidia Corp. (In re 3dfx Interactive), 2009 Bankr. LEXIS 120, at *17-18 (Bankr. N.D. Cal. Jan. 6,
                                                                  25

                                                                  26   2009) (“There is no explicit authority in the Bankruptcy Code for a committee to initiate adversary

                                                                  27   proceedings but it is clear that in certain situations, a committee may be permitted to proceed as the

                                                                  28   Equity Committee is proceeding here - with derivative standing.”). See also Official Comm. of
                                                                                                                        21
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                                                                   1   Unsecured Creditors of Cybergenics Corp. v. Chinery, 330 F.3d 548, 559-60 (3d Cir. 2003)
                                                                   2   (“bankruptcy courts, pursuant to their equitable powers, can confer upon creditors’ committees
                                                                   3
                                                                       standing to bring avoidance actions for the benefits.”).
                                                                   4
                                                                               In order to determine whether the debtor in possession has unjustifiably failed to bring suit so
                                                                   5
                                                                       as to give a creditors’ committee standing to bring an action, this Court must determine (1) whether
                                                                   6

                                                                   7   the committee has presented “a colorable claim or claims for relief that on appropriate proof would

                                                                   8   support a recovery,” and (2) “whether an action asserting such claims is likely to benefit the

                                                                   9   reorganization estate.” STN, 779 F.2d. at 905; Adelphia, 330 B.R. at 374 and n. 19 (“A debtor’s
                                                                  10   failure to bring a claim is deemed to be unjustifiable when the committee has presented a colorable
                                                                  11
                                                                       claim that on appropriate proof would support recovery and the action is likely to benefit the
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                                                                  12
                                                                       estate”); Official Committee of Unsecured Creditors v. Morgan Stanley & Co., Inc (In re Sunbeam
                                        LOS ANGELES, CALIFORNIA




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                                                                       Corp.), 84 B.R. 355, 374 (Bankr. S.D.N.Y 2002) (same).
                                                                  14

                                                                  15           The case law construing the requirement for “colorable” claims clearly provides that the

                                                                  16   requisite showing is a relatively low threshold to satisfy. See, e.g., Adelphia., 330 B.R. at 376

                                                                  17   (holding that the requisite standard for presenting a “colorable” claim is relatively easy to meet); In
                                                                  18
                                                                       re America’s Hobby Ctr., 223 B.R. 275, 288 (Bankr. S.D.N.Y. 1998) (observing that only if the
                                                                  19
                                                                       claim is “facially defective” should standing be denied). Courts have held that, in determining
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                                                                       whether a colorable claim exists, the court must engage in an inquiry “much the same as that
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                                                                       undertaken when a defendant moves to dismiss a complaint for failure to state a claim.” In re iPCS,
                                                                  22

                                                                  23   Inc., 297 B.R. 283, 291 (Bankr. N.D. Ga. 2003); see also In re Valley Park, 217 B.R. 864, 869 n.4

                                                                  24   (Bankr. D. Mont. 1998) (holding that the committee “does not have to satisfy the quantum of proof
                                                                  25   necessary for a judgment in order to show a colorable claim”).
                                                                  26
                                                                               Courts have also held that, in determining whether a claim is colorable, the court is not
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                                                                       required to conduct a mini-trial. Instead, the court may “weigh the ‘probability of success and
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                                                                   1   financial recovery,’ as well as the anticipated costs of litigation, as part of a cost/benefit analysis
                                                                   2   conducted to determine whether pursuit of colorable claims are likely to benefit the estate.” In re
                                                                   3
                                                                       iPCS, 297 B.R. at 291. Thus, the Committee is only required to establish the existence of plausible
                                                                   4
                                                                       claims – and that the claims to be brought have some value to the Debtor’s estate and its unsecured
                                                                   5
                                                                       creditors.
                                                                   6

                                                                   7           Once a party has shown that it has asserted a colorable claim, to satisfy the prong that

                                                                   8   requires the debtor to have unjustifiably refused to pursue the claim, a party seeking derivative

                                                                   9   standing may show that: (a) demand was made of the debtor and the debtor unjustifiably failed to
                                                                  10   bring suit or abused its discretion in determining not to bring suit, or (2) demand would be futile.
                                                                  11
                                                                       STN, 779, F.2d at 901; In re G-I Holdings, 313 B.R. 612, 630 (Bankr. N.J. 2004), aff’d / vac’d in
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                                                                  12
                                                                       part, 2006 U.S. Dist. LEXIS 45510 (D.N.J. June 21, 2006); In re STN Enters., 779 F.2d at 904.
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                                                                               Case law makes clear, however, that a committee is not required to demand formally that a
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                                                                  15   debtor take action where it is “plain from the record that no action on the part of the debtor would

                                                                  16   have been forthcoming.” See In re Nat’l Forge Co., 326 B.R. 532, 544 (W.D. Pa. 2005) (affirming

                                                                  17   the bankruptcy court’s excusal of the committee’s failure to petition the debtor on the ground that
                                                                  18
                                                                       any request to file suit, under the facts of the case, would have been futile); see also In re La. World
                                                                  19
                                                                       Exposition, 832 F.2d at 1391 (court would not remand so that committee could make formal demand
                                                                  20
                                                                       upon debtor where conflicts would likely prevent debtor from pursuing litigation adverse to its
                                                                  21
                                                                       directors and officers); In re First Capital Holdings Corp., 146 B.R. 7, 13 (Bankr. C.D. Cal. 1992)
                                                                  22

                                                                  23   (creditors’ committee would be excused from making a demand on a debtor to pursue action against

                                                                  24   its officers, directors and controlling shareholders where such a demand would be futile); In re
                                                                  25   Joyanna Holitogs, Inc., 21 B.R. 323, 326 (Bankr. S.D.N.Y. 1982) (holding that general right to be
                                                                  26
                                                                       heard would be an empty grant unless those who have such a right are also given the right to do
                                                                  27
                                                                       something where the debtors will not).
                                                                  28

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                                                                   1           Here, pursuit of causes of action on behalf of the Debtor’s estate and its eligible creditors will
                                                                   2   maximize recovery for all creditors, which is in the best interest of the bankruptcy estate. The
                                                                   3
                                                                       Committee is the appropriate party to commence and prosecute causes of action because its purpose
                                                                   4
                                                                       is to defend the interest of unsecured creditors and to ensure that the assets of the estate are
                                                                   5
                                                                       maximized for unsecured creditors. See, e.g., In re Nationwide Sports Distrib., Inc., 227 B.R. 455,
                                                                   6

                                                                   7   463 (Bankr. E.D. Pa. 1998) (“the purpose of such [unsecured creditors’] committees is to represent

                                                                   8   the interests of unsecured creditors and to strive to maximize the bankruptcy dividend paid to that

                                                                   9   class of creditors.”).
                                                                  10           In addition, the Committee does not expect that the costs and expenses to be incurred in
                                                                  11
                                                                       connection with prosecuting causes of action will be excessive compared to potential recovery for
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                                                                  12
                                                                       the estate. While litigation costs are one factor to consider, the Committee only needs to provide
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                                                                       comfort that the prosecution represents a sensible expenditure of the estate’s resources. See, e.g., In
                                                                  14

                                                                  15   re Adelphia Communications Corp., 330 B.R. 364, 386 (Bankr. S.D.N.Y. 2005).

                                                                  16           Here, the potential benefits of prosecuting causes of action outweigh the costs to be incurred

                                                                  17   in connection therewith. The causes of action here are potentially worth hundreds of thousands of
                                                                  18
                                                                       dollars in recoveries and/or reducing or recharacterization of Jianqing Yang’s over $43 million claim
                                                                  19
                                                                       for repayment of purported general unsecured loans during the applicable avoidable transfer period.
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                                                                   1                                                       IV.

                                                                   2                                               CONCLUSION

                                                                   3           WHEREFORE, the Committee respectfully requests that the Court enter its order

                                                                   4   (i) granting the Motion; (ii) directing the appointment of a chapter 11 trustee; (iii) in the alternative,

                                                                   5   terminating the Debtor’s exclusivity period and granting the Committee standing to prosecute estate

                                                                   6   claims against Insiders; and (iv) granting the Committee such other and further relief as the Court

                                                                   7   may deem appropriate.

                                                                   8
                                                                        Dated:     March 1, 2022                      PACHULSKI STANG ZIEHL & JONES LLP
                                                                   9

                                                                  10                                                  By         /s/ Jeffrey W. Dulberg
                                                                                                                                 Jeffrey W. Dulberg
                                                                  11
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                                                                                                                                 [Proposed] Counsel to the Official Committee
                                                                  12                                                             of Unsecured Creditors
                                        LOS ANGELES, CALIFORNIA




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                                                                                    1                                        DECLARATION OF DAVID PARK
                                                                                    2              I, David Park, declare and state as follows:

                                                                                    3              1.      I am the Chair of the Official Unsecured Creditors' Committee of Jinzheng Group

                                                                                    4       (USA) LLC.

                                                                                    5              2.      I make this declaration in support of the Motion for (I) the Appointment of a Chapter

                                                                                    6       I 1 Trustee, or in the Alternative, (JI) (A) Termination ofPlan and Solicitation Exclusivities and

                                                                                    7       (B) Authorizing Standingfor the Committee of Creditors Holding Unsecured Claims to Prosecute

                                                                                    8   Actions Against Insiders of the Debtor.

                                                                                    9              3.      The Committee, after due deliberation and a vote, has decided that it must seek the

                                                                                   10   replacement of Max Yang and SLC LLP as the protectors of the estate's assets by asking this Court

                                                                                   11   to direct the Office of United States Trustee to appoint a chapter 11 trustee. Alternatively, the
& ,JONES L LP




                                                                                   12   Committee seeks an order of this Court terminating the Debtor's plan filing and solicitation
                                                 Los At,.'.GHL&!I. CALI FOI.NJA.




                                                                                        exclusivities so that the Committee may propose a confirmable plan that takes in to account all
                                                                                    w
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                                                                                   14   legitimate claims, as well as authorizing the Committee to investigate and, if appropriate, bring and

                                                                                   15   prosecute one or more avoidance and/or other actions against Insiders, including Jianqing Yang,

                                                                                   16   whom the Debtor admitted received hundreds of thousands of dollars from the Debtor prior to the

                                                                                   17   commencement of this Case. 1

                                                                                   18              I declare under penalty of perjury under the laws of the United States of America, that the

                                                                                   19   foregoing is true and correct.

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                                                                                   20              Executed this 1st day of March, 2022, at -------j<--------::...--...__

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                                                                                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy, filed September 11, 2021 [Docket No. 30)
                                                                                   28   ("SoFA") at4.2, 30.1 and continuation sheets 3.3.


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                                                                   1                                DECLARATION OF JEFFREY W. DULBERG
                                                                   2
                                                                                I, Jeffrey W. Dulberg, declare and state as follows:
                                                                   3
                                                                                1.      I am an attorney duly admitted to practice by the State of California and before this
                                                                   4

                                                                   5   Court.

                                                                   6            2.      I am a partner of the Firm and am duly admitted and licensed to practice in the State
                                                                   7
                                                                       of California and to practice before this Court.
                                                                   8
                                                                                3.      I make this declaration in support of the Motion for (I) the Appointment of a Chapter
                                                                   9

                                                                  10   11 Trustee, or in the Alternative, (II) (A) Termination of Plan and Solicitation Exclusivities and

                                                                  11   (B) Authorizing Standing for the Committee of Creditors Holding Unsecured Claims to Prosecute
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                                                                  12
                                                                       Actions Against Insiders of the Debtor (the “Motion”).
                                        LOS ANGELES, CALIFORNIA




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                                                                                 4.     Attached hereto as Exhibit A is a true and correct copy of an email from Christopher
                                                                  14

                                                                  15   Langley to Jeffrey Dulberg, sent Feb. 15, 2022 at 7:57 pm.

                                                                  16             5.     Attached hereto as Exhibit B is a true and correct copy of an email from Jeffrey
                                                                  17
                                                                       Dulberg to Christopher Langley, sent Feb. 17, 2022 at 4:20 pm.
                                                                  18
                                                                                 6.     Attached hereto as Exhibit C is a true and correct copy of an email from Christopher
                                                                  19

                                                                  20   Langley to Jeffrey Dulberg, sent Feb. 17, 2022 at 5:04 pm.

                                                                  21             7.     Attached hereto as Exhibit D is an email from Jeffrey Dulberg to Christopher
                                                                  22
                                                                       Langley sent Feb. 17, 2022 at 11:56 pm.
                                                                  23

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                                                                   1           I declare under penalty of perjury under the laws of the United States of America, that the

                                                                   2   foregoing is true and correct.
                                                                   3
                                                                               Executed this 1st day of March, 2022, at Los Angeles, California.
                                                                   4

                                                                   5

                                                                   6                                                        /s/ Jeffrey W. Dulberg
                                                                                                                            Jeffrey W. Dulberg
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                                        LOS ANGELES, CALIFORNIA




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                           EXHIBIT A
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Jeffrey Dulberg

From:                                    Christopher Langley <chris@slclawoffice.com>
Sent:                                    Tuesday, February 15, 2022 7:57 PM
To:                                      Jeffrey Dulberg
Cc:                                      Steven Chang
Subject:                                 Re: Jinzheng


The depo is at the San Gabriel office. Yes we are going forward this Thursday with Park at I O:OOam. I will get
back to you on your email in more detail tomorrow.

By the end of the week, I would like to try to get out at least 4-5 claim objections including those of the
committee members.

We plan on try to get a hearing to dissolve the committee set for hearing on March 22 along with the claim
objections. I would suggest that you set your employment application for the same day. We will be filing a
notice of objection along with the motion to disband the committee.

Chris

On Tue, Feb 15, 2022, 3:13 PM Jeffrey Dulberg <jdulberg@pszjlaw.com> wrote:

 Chris - Let me know your thoughts on my note below when you get a chance. Also, can you confirm you are
 going forward on 2/17 with the Park depo? If you are starting at 10am, I can make a couple of hours that
 morning in person. Your Santa Ana office is the site, correct? If you choose to move it, I'd prefer Friday 2.25
 vs Thursday 2.24 to the extent you can schedule it then.



 Jeffrey Dulberg
 Pachulski Stang Ziehl & Jones LLP
 Tel: 310.277.6910 I Fax: 310.201.0760
 jdulberg@J)szjlaw.com
 vCard I Bio I Linkedln



 Los Angeles I San Francisco I Wilmington, DE I New York I Houston




 From: Jeffrey Dulberg
 Sent: Monday, February 14, 2022 1:57 PM
 To: 'Christopher Langley' <chris@slclawoffice.com>
 Subject: Jinzheng



 Chris-
                                                                     1
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                           EXHIBIT B
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Jeffrey Dulberg

From:                                         Jeffrey Dulberg
Sent:                                         Thursday, February 17, 2022 4:20 PM
To:                                           'Christopher Langley'
Cc:                                           Steven Chang
Subject:                                      RE: Jinzheng


Chris - Following up on your email promising a more detailed response to mine. Shall I assume that you intend to object
to our application despite my offer to discuss it further and to effectively yield to what I think is your primary concern
(i.e. to resign if and when the committee is dissolved)? Choosing litigation in the face of that consideration would make
it clear that Max's prerogative is to disenfranchise legitimate cred itors versus meeting his fiduciary obligation to work
with stakeholders, etc. Please reconsider so we can collectively stay focused on restructuring.

Best,



Jeffrey Dulberg
Pachulski Stang Ziehl & Jones LLP
Tel: 310.277.6910 I Fax : 310.201.0760
jdulberg@pszjlaw.com
vCard I Bio I Linkedln


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   \__J        JONES

Los Ange les    I San Francisco I Wilm ington, DE I New York I Houston


From: Christopher Langley [mailto:chris@slclawoffice.com]
Sent: Tuesday, February 15, 2022 7:57 PM
To: Jeffrey Dulberg
Cc: Steven Chang
Subject: Re: Jinzheng

The depo is at the San Gabriel office. Yes we are going forward this Thursday with Park at 10:00am. I will get
back to you on your email in more detail tomorrow.

By the end of the week, I would like to try to get out at least 4-5 claim objections including those of the
committee members.

We plan on try to get a hearing to dissolve the committee set for hearing on March 22 along with the claim
objections. I would suggest that you set your employment application for the same day. We will be filing a
notice of objection along with the motion to disband the committee.

Chris

On Tue, Feb 15, 2022, 3:13 PM Jeffrey Dulberg <jdulberg@pszj law.com> wrote:
                                                                         1
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                           EXHIBIT C
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Jeffrey Dulberg

From:                                     Christopher Langley < chris@slclawoffice.com >
Sent:                                     Thursday, February 17, 2022 5:04 PM
To:                                       Jeffrey Dulberg
Cc:                                       Steven Chang
Subject:                                  RE: Jinzheng



Jeff,

Sorry I have been busy working on other matters in this case. Our position is that we see no reason for this committee. I
do not see what benefit you serve in this case. We don't believe that any of your committee members have valid claims
against the Debtor. I am in the process of objecting to the Phalanx claim, and have already filed the objection to the
Pennington claim. The Betula objection should be filed tomorrow.

If you read Donna's objection to the disgorgement motion, it is clear that Betula was the managing the Debtor at the
time of filing. Donna calls them part of the management team. I think that makes them illegible to be on committee but
ultimately the judge will have to decide.

This is a small case. At your hourly rate, the administrative fees will very quickly get out of hand. It is in the estate's
interest that you not be involved at all.

Please tell me who you believe the legitimate creditors to be.


  rt----.-...-=-~---,   I
                            Christopher J. Langley, Esq.
  I
 SHIODA                     Partner
 LANGLEY &                  1800 N. Broadway Ste. 200,
 CHANG, LLP
                            Santa Ana, CA 92706
  L~-·-..=--                o. (714) 515-5656; f. (877) 483-4434
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 Schedule an apointment here

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 contain PRIVILEGED and CONFIDENTIAL INFORMATION. If you are not the intended recipient, then please (i) do not print,
 forward, or copy this e-mail, (ii) notify us of the error by a reply to this e-mail, and (Iii) delete this e-mail from your
 computer. Thank you.




From: Jeffrey Dulberg <jdulberg@pszjlaw.com>
Sent: Thursday, February 17, 2022 4:20 PM
To: 'Christopher Langley' <chris@slclawoffice.com>
Cc: Steven Chang <schang@slclawoffice.com>
Subject: RE: Jinzheng

Chris - Following up on your email promising a more detailed response to mine. Shall I assume that you intend to object
to our application despite my offer to discuss it further and to effectively yield to what I think is your primary concern
(i.e. to resign if and when the committee is dissolved)? Choosing litigation in the face of that consideration would make
                                                                        1
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                           EXHIBIT D
        Case 2:21-bk-16674-ER          Doc 136 Filed 03/01/22 Entered 03/01/22 17:49:57                    Desc
                                       Main Document     Page 42 of 48

Jeffrey Dulberg

From:                              Jeffrey Dulberg
Sent:                              Thursday, February 17, 2022 11:56 PM
To:                                Christopher Langley
Cc:                                Steven Chang; Robert Saunders
Subject:                           Re: Jinzheng



Chris-

That's unfortunate because I thought there was an opportunity to work together but apparently you prefer
otherwise. I'll tell you some things that you perhaps already know but don't want to acknowledge: the Debtor
(Max) doesn't get to decide whether or not a committee is appointed, the Debtor does not get to choose the
composition of the committee, and the debtor does not get to select who serves as committee counsel. In
addition, as I'm sure you also know despite your request, committee counsel does not have to make any prove
up to you or anyone else regarding the "legitimacy" of any or all of the two dozen claims filed against the
estate. Just because you took the low road and re-scheduled every claim as contingent, unliquidated or disputed
does not automatically make them so. There are judges around the country who regard that maneuver as bad
faith in and of itself and it will be one more element of a motion to remove Max from control given his scorched
earth approach.

In any event, as you have refused all requests for informal discussions, the Committee going is compelled to
take Max's deposition regarding the control issues, his appointment, the state of the case, etc. Let me know if
you will have him sit on March 7, 10, or 11 at 1Oam for that in our offices in Century City or if you and he are
refusing to do so and will require a Court order.

With respect to the allegation about Betula, even if everything you're saying were true, it would not necessarily
mean that they were illegitimate and in all likelihood given the circumstances they could serve as a committee
member; if not replacement members can be identified.

It seems to me the proper cause of action would be for you to reach out to the United States Trustee's office to
ask them to investigate their selection. It's only if that office were to refuse to do so that you should even
consider taking action in Court to reform the Committee.

Best,

Jeff

         On Feb 17, 2022, at 5:04 PM, Christopher Langley <chris@slclawoffice.com> wrote:


         Jeff,

         Sorry I have been busy working on other matters in this case. Our position is that we see no reason for
         this committee. I do not see what benefit you serve in this case. We don't believe that any of your
         committee members have valid claims against the Debtor. I am in the process of objecting to the
         Phalanx claim, and have already filed the objection to the Pennington claim. The Betula objection should
         be filed tomorrow.


                                                            1
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                                           PROOF OF SERVICE OF DOCUMENT
 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                           10100 Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067

 A true and correct copy of the foregoing document entitled (specify): NOTICE OF MOTION AND MOTION FOR (I) THE
 APPOINTMENT OF A CHAPTER 11 TRUSTEE, OR IN THE ALTERNATIVE, (II) (A) TERMINATION OF PLAN AND
 SOLICITATION EXCLUSIVITIES AND (B) AUTHORIZING STANDING FOR THE COMMITTEE OF CREDITORS
 HOLDING UNSECURED CLAIMS TO PROSECUTE ACTIONS AGAINST INSIDERS OF THE DEBTOR;
 DECLARATIONS OF DAVID PARK AND JEFFREY W. DULBERG IN SUPPORT will be served or was served (a) on the
 judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
 Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 March 1, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
 following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                           Service information continued on attached page

 2. SERVED BY UNITED STATES MAIL:
 On (date) March 1, 2022, I served the following persons and/or entities at the last known addresses in this bankruptcy case
 or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
 class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
 will be completed no later than 24 hours after the document is filed.


                 VIA US MAIL
                 JINZHENG GROUP (USA) LLC
                 100 E. Huntington Drive, Ste. 207
                 Alhambra, CA 91801

                                                                                       X Service information continued on attached page

 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
 each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) March 1, 2022, I served the
 following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
 service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
 personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

             VIA FEDERAL EXPRESS
             United States Bankruptcy Court
             Central District of California
             Attn: Hon. Ernest Robles
             Edward R. Roybal Federal Bldg./Courthouse
             255 East Temple Street, Suite 1560
             Los Angeles, CA 90012
                                                                                           Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 March 1, 2022                 Mary de Leon                                                    /s/ Mary de Leon
 Date                          Printed Name                                                    Signature


             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                                          F 9013-3.1.PROOF.SERVICE
DOCS_LA:342631.1 46360/002
         Case 2:21-bk-16674-ER                 Doc 136 Filed 03/01/22 Entered 03/01/22 17:49:57                                      Desc
                                               Main Document     Page 44 of 48


SERVICE INFORMATION FOR CASE NO. 2:21-bk-16674-ER
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

         Donna C Bullock donnabullockcarrera@yahoo.com, donna.bullock@ymail.com
         Steven P Chang heidi@spclawoffice.com,
          schang@spclawoffice.com,assistant1@spclawoffice.com,attorney@spclawoffice.com;g9806@notify.cincompass.com;changsr
          75251@notify.bestcase.com
         Michael F Chekian mike@cheklaw.com, chekianmr84018@notify.bestcase.com
         Susan Titus Collins scollins@counsel.lacounty.gov
         Jeffrey W Dulberg jdulberg@pszjlaw.com
         Richard Girgado rgirgado@counsel.lacounty.gov
         M. Jonathan Hayes jhayes@rhmfirm.com,
          roksana@rhmfirm.com;matt@rhmfirm.com;rosario@rhmfirm.com;pardis@rhmfirm.com;russ@rhmfirm.com;david@rhmfirm.
          com;sloan@rhmfirm.com;boshra@rhmfirm.com;rosario@rhmfirm.com
         Teddy M Kapur tkapur@pszjlaw.com, mdj@pszjlaw.com
         Christopher J Langley chris@slclawoffice.com, omar@slclawoffice.com;langleycr75251@notify.bestcase.com
         Benjamin R Levinson ben@benlevinsonlaw.com, courtney@benlevinsonlaw.com
         Eric A Mitnick MitnickLaw@aol.com, mitnicklaw@gmail.com
         Giovanni Orantes go@gobklaw.com, gorantes@orantes-
          law.com,cmh@gobklaw.com,gobklaw@gmail.com,go@ecf.inforuptcy.com;orantesgr89122@notify.bestcase.com
         Matthew D. Resnik matt@rhmfirm.com,
          roksana@rhmfirm.com;rosario@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;priscilla@rhmfirm.com;pardis@rhmfi
          rm.com;russ@rhmfirm.com;rebeca@rhmfirm.com;david@rhmfirm.com;sloan@rhmfirm.com
         Allan D Sarver ADS@asarverlaw.com
         David Samuel Shevitz david@shevitzlawfirm.com,
          shevitzlawfirm@ecf.courtdrive.com;r48785@notify.bestcase.com;Jose@shevitzlawfirm.com
         United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
         Hatty K Yip hatty.yip@usdoj.gov, hatty.k.yip@usdoj.gov


2.        TO BE SERVED BY EMAIL

         Gene H. Shioda – ghs@slclawoffice.com
         Steven P. Chang – schang@slclawoffice.com
         Donald W. Reid – don@donreidlaw.com




     This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                             F 9013-3.1.PROOF.SERVICE
DOCS_LA:342631.1 46360/002
   TO BE SERVED BY MAIL
              Case 2:21-bk-16674-ER   Doc 136 Filed 03/01/22 Entered 03/01/22 17:49:57 Desc
Label Matrix for local noticing        ChekianDocument
                                      Main     Law Office, Inc. Page 45 of 48 Employment Development Dept.
0973-2                                 Chekian Law Office, Inc.                        Bankruptcy Group MIC 92E
Case 2:21-bk-16674-ER                  445 South Figueroa Street                       P.O. Box 826880
Central District of California         31st Floor                                      Sacramento, CA 94280-0001
Los Angeles                            Los Angeles, CA 90071-1635
Tue Mar 1 17:12:06 PST 2022
Franchise Tax Board                    Internal Revenue Service                        Investment Management Company LLC
Bankruptcy Section MS: A-340           PO Box 7346                                     Law Offices Allan Sarver
P.O. Box 2952                          Philadelphia, PA 19101-7346                     16000 Ventura Blvd
Sacramento, CA 95812-2952                                                              Suite 1000
                                                                                       Encino, CA 91436-2762

JINZHENG GROUP (USA) LLC               (p)LOS ANGELES COUNTY TREASURER AND TAX COLLE   (p)OFFICE OF FINANCE CITY OF LOS ANGELES
100 E. Huntington Drive                ATTN BANKRUPTCY UNIT                            200 N SPRING ST RM 101 CITY HALL
Ste. 207                               PO BOX 54110                                    LOS ANGELES CA 90012-3224
Alhambra, CA 91801-1022                LOS ANGELES CA 90054-0110


Orantes Law Firm, P.C.                 Securities & Exchange Commission                Los Angeles Division
The Orantes Law Firm, P.C.             444 South Flower St., Suite 900                 255 East Temple Street,
3435 Wilshire Blvd., suite 2920        Los Angeles, CA 90071-2934                      Los Angeles, CA 90012-3332
los angeles, CA 90010-2015


Accutax Services                       American Modern Insurance                       BETTY ZHENG
9040 Telstar Ave Ste 105               7000 Midland Blvd                               28 N. 3RD ST. #b513
El Monte CA 91731-2838                 Amelia OH 45102-2608                            ALHAMBRA, CA 91801-6234



BOBS LLC                               BREEZEBLOCK CAPITAL, LLC                        Bamboo Insurance
Attn: Barry Shy                        c/o Pacific Mortgage Exchange, Inc.             7050 Union Park Center Ste 400B
7525 Avalon Bay St                     P.O. Box 2836                                   Midvale UT 84047-6055
Las Vegas, NV 89139-5307               Big Bear Lake, CA 92315-2836


Bentula Lenta, Inc.                    Best Alliance                                   Betula Lenta Inc.
David Park                             16133 Ventura Blvd.                             800 West 6th Street
800 W. 6th Street                      Suite 700                                       Suite 1250
Suite 1250-B                           Encino, CA 91436-2406                           Los Angeles, CA 90017-2721
Los Angeles, CA 90017-2704

Build Group Construction Co            California American Water                       Corona Capital Group, LLC
700 Flower St 575                      8657 Grand Ave                                  1222 Crenshaw Blvd.
Los Angeles CA 90017-4122              Rosemead CA 91770-1220                          #B
                                                                                       Torrance, CA 90501-2496


Craig Fry & Associates                 Craig Fry and Associates                        DNQ LLC
990 S. Arroya Pkwy, #4                 990 Arroyo Parkway #4                           Jason D Wang
Pasadena, CA 91105-3920                Pasadena, CA 91105-3920                         6145 W Spring Mountain Rd. #205
                                                                                       Las Vegas NV 89146-8819


David S Zu                             David Z. Su                                     Donna Bullock
100 N Citrus St Ste 330                100 N. Citrus Street Ste 615                    Attorney at Law
West Covina CA 91791-1674              West Covina, CA 91791-6600                      800 W 6th St
                                                                                       Suite 1250
                                                                                       Los Angeles, CA 90017-2721
               Case 2:21-bk-16674-ER   Doc 136 Filed 03/01/22 Entered 03/01/22 17:49:57 Desc
Donna Bullock Esq                       EFI Global
                                       Main    Document  Page 46 of 48    Franchise Tax Board Chief Counsel
Law Offices of Donna Bullock            5261 W Imperial Hwy                      c/o General Counsel Section
800 W 6th St Suite 1250                 Los Angeles CA 90045-6231                P.O. Box 720, MS: A-260
Los Angeles CA 90017-2721                                                        Rancho Cordova, CA 95741-1720


Griffin Underwriters                    Home Loans Unlimited                     Home Loans Unlimited, Inc.
PO Box 3867                             Attn Daniel Triana                       28859 Phantom Trail
Bellevue WA 98009-3867                  28859 Phantom Trail                      Santa Clarita, CA 91390-5295
                                        Santa Clarita, CA 91390-5295


Investment Management Company           Jade Capital                             Jianqing Yang
1507 7th Street, #344                   333 Thornall St Ste 101                  PO Box 3702
Santa Monica, CA 90401-2605             Edison NJ 08837-2220                     Alhambra CA 91803-0702



LA City Treasurer and Tax Collector     Land Design Consultants                  Law Offices of Matthew C. Mullhofer
255 N Hill St 1st Fl                    800 Royal Oaks Drive                     2107 N. Broadway
Los Angeles CA 90012-2705               Suite 104                                Suite 103
                                        Monrovia, CA 91016-6364                  Santa Ana, CA 92706-2633


Los Angeles Treasurer Tax Collector     Marc Cohen                               Michael Carlin
P.O. Box 54018                          Cohen Law Group, APC                     PO Box 67132
Los Angeles, CA 90054-0018              541 S. Spring Street                     Century City, CA 90067-0132
                                        Ste. 1208
                                        Los Angeles, CA 90013-1667

Michael E. Dorff and Shari L. Dorff     Office of the United States Trustee      Overland Traffic Consultants
3239 Bordero Lane                       915 Wilshire Blvd.                       952 Manhattan Beach Blvd 100
Thousand Oaks, CA 91362-4659            Los Angeles, CA 90017-3409               Manhattan Beach CA 90266-5112



Pacific Geotech Inc                     Pacific Mortgae Exchange, Inc.           Pennington Construction Advisors Inc
Attn Jirayus Pukkansasut                73241 Hwy. 111, Ste. 1-A                 Attn: Todd C. Pennington
15038 Clark Ave                         Palm Desert, CA 92260-3921               79 Bell Pasture Rd
Hacienda Heights CA 91745-1408                                                   Ladera Ranch CA 92694-1558


Phalanx                                 (p)ROYAL BUSINESS BANK                   Royalty Equity Lending LLC
424 E. 15th Street                      1055 WILSHIRE BLVD SUITE 1220            600 S. Spring Street
Suite 10                                LOS ANGELES CA 90017-3103                Suite 106
Los Angeles, CA 90015-3140                                                       Los Angeles, CA 90014-1979


Shawn Charles Sourgose                  State Farm Insurance                     Testa Capital Group
2111 Seville Drive                      PO Box 588002                            Attn Thomas L Testa
Santa Paula, CA 93060-8042              North Metro GA 30029-8002                620 Newport Center Drive
                                                                                 Suite 1100
                                                                                 Newport Beach, CA 92660-8011

The Alison Company                      The Code Solution, Inc.                  The Orantes Law Firm APC
2060 D Avenida De Los Arboles           Attn Jamie Cho                           3435 Wilshire Blvd. Ste 2920
#471                                    800 W. 6th Street                        Los Angeles, CA 90010-2015
Thousand Oaks, CA 91362-1376            Suite 1250 A
                                        Los Angeles, CA 90017-2721
                  Case 2:21-bk-16674-ER              Doc 136 Filed 03/01/22 Entered 03/01/22 17:49:57                               Desc
The Phalanx Group                                     The Phallanx
                                                     Main          Group
                                                             Document    Page 47 of 48  The Phallanx Group
424 E. 15th St Ste 10                                  Anthony Rodriguez                                    Anthony Rodriguez
Los Angeles, CA 90015-3140                             424 E 15th St Ste 10                                 424 E. 1st Street, Unit #10
                                                       Los Angeles CA 90015-3140                            Los Angeles CA 90012


UltraSystems Environmental                             United States Trustee (LA)                           Yepez Gardening Services
Attn Hassan Ayati                                      915 Wilshire Blvd, Suite 1850                        2121 N Marengo Ave
16431 Scientific Way                                   Los Angeles, CA 90017-3560                           Pasadena CA 91001
Irvine, CA 92618-4355


Christopher J Langley                                  Donna Bullock Carrera                                Matthew Resnik
Shioda, Langley & Chang LLP                            LAW OFFICES OF DONNA BULLOCK                         RHM LAW LLP
4158 14th St.                                          800 W 6th St                                         17609 Ventura Blvd. Suite 314
Riverside, CA 92501-3426                               Ste 1250                                             Encino, CA 91316-5132
                                                       Los Angeles, CA 90017-2721



                     The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


L.A. County Tax Collector                              Los Angeles City Clerk                               (d)Los Angeles County Tax Collector
Bankruptcy Unit                                        P.O. Box 53200                                       225 N. Hill Street, #1
P.O. Box 54110                                         Los Angeles, CA 90053-0200                           Los Angeles, CA 90012
Los Angeles, CA 90051-0110


(d)Los Angeles County Tax Collector                    (d)Los Angeles County Treasurer and Tax Colle        Royal Business Bank
P.O. Box 54018                                         Attn: Bankruptcy Unit                                1055 Wilshire Blvd.
Los Angeles, CA 90054-0018                             PO Box 54110                                         Suite 1220
                                                       Los Angeles, CA 90054-0110                           Los Angeles, CA 90017




                   The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Courtesy NEF                                        (u)INTERESTED PARTY                                  (u)Michael E. Dorff and Shari L. Dorff




(u)OFFICIAL COMMITTEE OF UNSECURED CREDITORS           (u)Royalty Equity Lending, LLC/Bobs LLC              (u)Shioda Langley and Chang LLP




(d)Employment Development Department                   (d)Franchise Tax Board                               (d)Internal Revenue Service
Bankruptcy Group MIC 92E                               Bankruptcy Section, MS:A-340                         P.O. Box 7346
P.O. Box 826880                                        P.O. Box 2952                                        Philadelphia, PA 19101-7346
Sacramento, CA 94280-0001                              Sacramento, CA 95812-2952
               Case 2:21-bk-16674-ER       Doc 136 Filed 03/01/22 Entered 03/01/22 17:49:57           Desc
(u)Ji Anqi Ngyang                           (d)Jinzheng
                                           Main         Group (USA) LLCPage 48 of 48
                                                   Document                          (u)Jay Wu
66 Yuhua West Rd                            100 E. Huntington Dr. Ste 207        LT Management Group Estate
Shi Ji Azhuang Hebei Province 050000 Chi    Alhambra, CA 91801-1022



End of Label Matrix
Mailable recipients   68
Bypassed recipients   12
Total                 80
